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                 IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF COLORADO
                     CHIEF JUDGE LEWIS T. BABCOCK
_____________________________________________________________________

Courtroom Deputy: LaDonne Bush             Date: November 9, 2006
Court Reporter:   Gwen Daniel
_____________________________________________________________________

Criminal Case No. 03-cr-00127-LTB

UNITED STATES OF AMERICA,                            David Gaouette

      Plaintiff,

v.

1.    ABDUL QAYYUM,                                  Raymond Moore
2.    CHRIS MARIE WARREN,                            Thomas Hammond
4.    SAIMA SAIMA,                                   Marc Milavitz
5.    IRFAN KAMRAN,                                  Donald Knight

     Defendants.
_____________________________________________________________________

                         COURTROOM MINUTES
_____________________________________________________________________

Status Conference

1:16 p.m.     Court in session.

Defendants are present and on bond.

Mr. Gaouette states that offers have been made to defendants and requests time for
defendants to review those offers.

Statement by Mr. Moore regarding scheduling.

ORDERED: Further status conference is set on Monday, November 27, 2006, at 8:00
         a.m.

1:30 p.m.     Court in recess.

Hearing concluded.
Time: 00:14
